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      AO 93 (Rev. 12/09)Search and Seizure Warrant (USAO COCA Rev. 01/2013)



                                           UNITED STATES DISTRICT COURT
                                                                          for the
                                                                Central District of California

                        In the Matter of the Search of                            )
                    (Briefly describe the property to be searched                 )
                  . or identO the person by name and address)                     ) Case No. 5:18-MJ-00401
     5863 Normandie Place, Riverside, CA 92504, as described                      )
                 more fully in Attachment A-1                                     )
                                                                                  )

                                                  SEARCH AND SEIZURE WARRANT
     To:       Any authorized law enforcement officer

              An application by a federal law enforcement officer or an attorney for the government requests the search
     of the following person or property located in the         Central           District of           California
     (ident05, the person or describe the property to be searched and give its location):
           See Attachment A-1

               The person or property to be searched, described above, is believed to conceal (idend), the person or describe the
     properly to be seized):
           See Attachment B-1

             I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
     property. Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

               YOU ARE COMMANDED to execute this warrant on or before                            14 days from the date of its issuance
                                                                                                             (not to exceed 14 days)
           id in the daytime 6:00 a.m. to 10 p.m.                   CI at any time in the day or night as I find reasonable cause has been
                                                                       established.

             Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
     taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
     place where the property was taken.
             The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
     inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
     on duty at the time of the return through a filing with the Clerk's Office.
                                      (name)

           0 Iliad that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
     of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
     searched or seized (check the appropriate box) CD for             days (not to exceed 30).
                                                    CI until, the facts justifying, the later specific date of                 .

                                                                                                 KENLY KIYA KATO
     Date and time issued:         q /74 l'Alr I I.:2,1 e n,.
                                                                                                        Judge's signature


     City and state: Riverside, California                                                          Hon. Kenly Kiya Kato
                                                                                                      Printed name and title



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                                                                         Return
      Case No.:                    Date and time warrant executed:                         Copy of warrant and inventory left with:
       5:18-MJ-00401               1 tav i 1 41 4...:(y3r.,:-.,-,                            in 16-13rovi.n a+ c es ictenc,e-
      Inventoly made in the presence of:

      Inventoty of the property taken and name of any person(s) seized:
     (Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authbrized to be
     seized pursuant to the warrant (e.g., type of documents, as opposed to "miscellaneous documents") as well as the approximate
     volume of any documents seized (e.g.) number of boxes). if reference is made to an attached description of property, specify the
     number of pages to the attachment and any case number appearing thereon.]
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                                                                      Certification     (by officer present during the execution of the warrant)

     I declare under penalty of peduty that lam an officer who executed this warrant and that this inventoty is correct and
     was returned along with the original wairant to the designated judge through a filing with the Clerk's Office.



     Date: 406M
                                                                                                   ecuting officer's signature

                                                                               Pao              i‘.-- Wc1,1-4       5N
                                                                                                    Printed name and title




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